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Arnie Hederman i www.msgop.org
Chairman

Secretary of State Delbert Hosemann
401 Mississippi Street
Jackson, MS 39201-1004

june 27, 2011

Secretary Hosemann,

In my capacity as Chairman of the Mississippi Republican Party Executive Committee and pursuant to
Mississippi Code Section 23-15-1085, | hereby notify the Secretary of State of the Republican Party’s
intention to hold a presidential preference primary in 2012.

Respectfully,

Arnie Hederman
Chairman
Mississippi Republican Executive Committee

EXHIBIT

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415 Yazoo Street * Post Office Box 60 * Jackson, MS 39205
Phone: 601.948.5191 * Fax: 601.354.0972

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